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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION                                221MAY19
JOHNNY SATURN,                                 §                                                        -..   js1.._


                      PLAINTIFF,               §
                                               §
V.                                             §        CAUSE NO. 1:20-CV-1 176-LY
                                               §
AUSTIN BERGSTROM                               §
INTERNATIONAL AIRPORT, ET. AL,                 §
               DEFENDANTS.                     §


                                              i) 1 0
       Before the court in the above-styled and numbered cause is Defendant American Airlines,

Inc.'s ("American") Rule 12(b) Motion to Dismiss filed May 3, 2021 (Doc. #3 5). American seeks

to dismiss pro se Plaintiff Johnny Saturn's "Second Amended Complaint" for lack of subject-

matter jurisdiction and failure to state a claim. Fed. R. Civ. P. 12(b)(1); Fed. R. Civ. P. 12(b)(6).

       American's motion, however, is moot. On March 31, 2021, the court rendered an order

dismissing Saturn's amended complaint (Doc. #28) and subsequently rendered final judgment

pursuant to Federal Rule of Procedure 58 (Doe. #29). Accordingly,

       IT IS ORDERED that American's motion to dismiss (Doe. #35) is DISMISSED.

       SIGNED this               day of May, 2021.




                                                       TED STATE DIST      CT JUDGE




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